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                         BEFORE THE JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION


                        MDL No. 875 – In re Asbestos Litigation


        Roger Nelson, et al. v. Crane Co., et al., District of Hawaii, C.A. No. 1:11-00402


                      NOTICE OF APPEARANCE OF COUNSEL

               Pursuant to Rule 4.1(c) of the Rules of Procedure of the United States Judicial

Panel on Multidistrict Litigation, I hereby submit this notice of appearance of counsel on behalf

of Defendant Crane Co. in the above-captioned action which is included on the conditional

transfer order (CTO-420).

                                             Sincerely,


                                             /s/Lee T. Nakamura
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